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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

In re Chapter 11

BARFLY VENTURES, LLC et. al., Case No. 20-01947-jwb

Debtor.

 

 

DECLARATION OF PAUL NEITZEL REGARDING PROFESSIONAL FEES
I, Paul Neitzel, declare and state as follows:
1, I am a Founding Partner of Rock Creek Advisors (“Rock Creek’), the financial
advisory firm retained by the above-captioned debtors (the “Debtors’’).
Di Subsequent to the filing of these bankruptcy cases, the Debtors and the Official
Committee of Unsecured Creditors (the “Comunittee”) moved to retain certain professionals, as set

forth below:

 

 

 

 

 

 

 

Professional Firm Role Order Approving
Retention [Dkt. No.]

Pachulski Stang Ziehl & Jones LLP Debtors’ Counsel 187

Warner Norcross + Judd LLP Debtors’ Counsel 186

Rock Creek Advisors Debtors’ Financial 188
Advisor

Sugar Felsenthal Grais & Helsinger Committee’s Counsel 230

LLP

Jaffe Raitt Heuer & Weiss, P.C. Committee’s Counsel 232

Amherst Partners Committee’s Financial 231
Advisor

 

 

 

 

 

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(collectively, the “Estate Professionals’).

en On July 9, 2020, the Debtors moved to sell substantially all of their assets through
a Bankruptcy Code section 363 sale. [Dkt. No. 127]. On September 23, 2020, the Official
Committee of Unsecured Creditors (the “Committee’’), filed an objection to the sale motion. [Dkt.
No. 329].

4, Following mediation, as part of a broader settlement of the Committee’s objection,
the Committee, the Debtors, and the proposed asset purchaser entered into an agreement
establishing a wind-down budget for these chapter 11 cases (the “Wind-Down Budget’). The
Wind-Down Budget established caps on the Estate Professionals’ remaining fees (the
“Professional Fee Cap’’).

5. In March 2021, the Estate Professionals filed final applications for payment of fees
and reimbursement of expenses. In April 2021, the Estate Professionals filed supplements to their

respective fee applications. A summary of these filings is as follows:

 

 

 

 

 

 

 

Professional Firm Fee Application Supplement
[Dkt. No.] [Dkt. No.]
Pachulski Stang Ziehl & Jones LLP 44] 451
Warner Norcross + Judd LLP 446 464
Rock Creek Advisors 447 463
Sugar Felsenthal Grais & Helsinger LLP 442 448
Jaffe Raitt Heuer & Weiss, P.C. 443 449
Amherst Partners 444 N/A

 

 

 

 

 

(collectively, the “Fee Applications”).
6. The Fee Applications remain pending. No party has objected to the Fee

Applications.

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7. I have reviewed the Fee Applications, the Order Authorizing the Sale, and the
Wind-Down Budget and, based on that review, the fees requested in the Fee Applications are
consistent with the caps set forth in the Order and the Wind-Down Budget. The following chart

sets for the amounts requested in the Fee Applications as they relate to the Professionals Rate Caps.

 

 

 

 

 

Over/
Post-Cap (under)
Pachulski Stang Ziehl & Jones LLP 199,633
Warner Norcross + Judd LLP 161,604
Rock Creek Advisors 499,175
860,413 928,454 (68,041)
Ambherst Partners 26,844
Jaffe Raitt Heuer & Weiss, P.C. 74,262
Sugar Felsenthal Grais & Helsinger LLP 141,030
Unsecured Creditors Committee 242,136 247,561 (5,425)
1,102,549 1,176,015 (73,466)
8. It is my understanding and expectation that approval of the fees requested in the

Fee Applications will result in payment in full of the Estate Professionals’ chapter 11

administrative expenses.

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my knowledge and belief.

oath
Executed this 28 day of April 2021. Zs pls

Paul Neitzel

 

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